             CaseCase
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                                                                        of 11 of 1



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                                                                                               14-cv-8326
                                                                                            McMahon, C.J.

                              United States Court of Appeals
                                                     FOR THE
                                              SECOND CIRCUIT
                                              _________________

                    At a stated term of the United States Court of Appeals for the Second
      Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
      in the City of New York, on the 31st day of October, two thousand seventeen.

      Present:
                     Gerard E. Lynch,                                 USDC SDNY
                     Susan L. Carney,                                 DOCUMENT
                           Circuit Judges,                            ELECTRONICALLY FILED
                     Alvin K. Hellerstein,*                           DOC #:   _________________
                           District Judge.                            DATE FILED:October 31, 2017
                                                                                  ______________


      Terrence Moore, as Trustees of the Metal Lathers Local 46
      Pension Fund, et al.,

                                      Plaintiffs-Appellees,
                     v.                                                          17-2985 (L);
                                                                                 17-3028 (Con);
                                                                                 17-3182 (Con);
                                                                                 17-3289 (XAP);
                                                                                 17-3451 (XAP)
      Navillus Tile Inc., DBA Navillus Contracting, et al.,

                                      Defendants-Appellants.


      Appellants Navillus Tile, Inc. and Advanced Construction Solutions, LLC move for a stay of the
      district court’s judgment without posting a bond. Upon due consideration, it is hereby
      ORDERED that the motions are DENIED. See In re Nassau County Strip Search Cases, 783
      F.3d 414, 417-18 (2d Cir. 2015).
                                                 FOR THE COURT:
                                                 Catherine O’Hagan Wolfe, Clerk




      * Judge Alvin K. Hellerstein, of the United States District Court for the Southern District of New
      York, sitting by designation.

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